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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
    ________________________________________
    In re:                                      ) Chapter 11
                                                )
    Montrose Multifamily Members, LLC, et al. 1 ) Case No. 22-90323
                                                )
             Debtors.                           ) Joint Administration Requested
                                                )
    ________________________________________ )

  DEBTORS’ EMERGENCY MOTION FOR ORDER (I) PROHIBITING UTILITY
PROVIDERS FROM ALTERING, REFUSING, OR DISCONTINUING SERVICES AND
     (II) ESTABLISHING PROCEDURES FOR DETERMINING REQUESTS
                FOR ADDITIONAL ADEQUATE ASSURANCE


         Emergency relief has been requested. If you object to the relief requested or
         you believe that emergency consideration is not warranted, you must appear
         the hearing if one is set, or file a written response prior to the date that relief
         is requested in the preceding paragraph. Otherwise, the Court may treat the
         pleading as unopposed and grant the relief requested.

         A hearing has been set for October 17, 2022 at 1:00 p.m. (Prevailing Central
         Time). Participation at the hearing will be permitted by an audio and video
         connection.

         Audio communication will be by use of the Court’s dial-in facility. You may
         access the facility at 832-917-1510. Once connected, you will be asked to enter
         the conference room number. Judge Jones’s conference room number is
         205691. Video communication will be by use of the GoToMeeting platform.
         Connect via the free GoToMeeting application or click the link on Judge
         Jones’s home page. The meeting code is “JudgeJones”. Click the settings icon
         in the upper right corner and enter your name under the personal information
         setting.

         Hearing appearances must be made electronically in advance of both
         electronic and in-person hearings. To make your appearance, click the
         “Electronic Appearance” link on Judge Jones’s home page. Select the case


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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Montrose Multifamily Members II, LLC (5725); Colquitt 2008, LP (6108); Westmoreland
Partners, LLC (1492); Graustark Members II, LLC (1605); Kipling Partners LLC (2339); MT Vernon Members, LLC
(5014); and Norfolk Partners LLC (3182). The location of Debtor Montrose Multifamily Members, LLC’s principal
place of business and the Debtors’ service address is 4203 Montrose Blvd, Suite 400, Houston, Texas, 77006.


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       name, complete the required fields and click “Submit” to complete your
       appearance.

       Montrose Multifamily Members, LLC and certain of its affiliates, as debtors and debtors

in possession in the above-captioned cases (collectively, the “Debtors”) by and through their

undersigned proposed counsel file this emergency motion (the "Motion"), for order (i) prohibiting

utility providers from altering, refusing, or discontinuing services and (ii) establishing procedures

for determining requests for additional adequate assurance. In support thereof, the Debtors would

show as follows:

                                        SECTION I
                                  JURISDICTION & VENUE

       1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. Section 157 and

Section 1334. This Motion is a core proceeding pursuant to 28 U.S.C. Section 157(b). Venue is

proper pursuant to 28 U.S.C. Section 1408 and 1409.

                               SECTION II
            STATEMENT OF THE CASE & EMERGENCY CONSIDERATION

       2.      On October 4, 2022 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). The

Debtors have requested that the Chapter 11 Cases be jointly administered. The Debtors continue

to operate their businesses and manage their properties as debtors and debtors in possession

pursuant to Bankruptcy Code sections 1107(a) and 1108. To date, no creditors committee has been

appointed in the Chapter 11 Cases by the Office of the United States Trustee for the Southern

District of Texas (the “United States Trustee”). No trustee or examiner has been appointed in the

Chapter 11 Cases.

       3.      The Debtors collectively own and manage 14 multifamily apartment complexes in

the Montrose neighborhood of Houston, Texas (individually the “Apartment Complex” and


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collectively, the “Apartment Complexes” ). A detailed description of the Debtors and their

businesses, and the facts and circumstance supporting the Chapter 11 Cases are set forth in greater

detail in the Declaration of Christopher Bran, Manager of Bran Enterprises, LLC, Managing

Partner of MMM, in Support of Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”) [Dkt. No. 15]. In support of this Motion, the Debtors rely upon and incorporate by

reference the First Day Declaration.

       4.       The Debtors currently obtain services for water, sewage, gas, and electricity from

several utility providers (collectively the "Utility Providers" and individually a “Utility”) for the

Apartment Complexes. Given that the initial stay granted under section 366 of the Bankruptcy

Code will terminate according to section 366 of the Bankruptcy Code on October 24, 2022, and

the Debtors’ need of continued utility services at the Apartment Complexes, the Debtors believe

that expedited consideration is warranted.

       5.       Attached to the Motion is a list of names of known Utility Providers that were

providing services to the Debtors as of the Petition Date along with their respective deposits and

average monthly usage(the “Utility Provider List”).

                                    SECTION III
                        RELIEF SOUGHT & LEGAL AUTHORITIES

       6.       The Debtors seek an order (i) prohibiting the Utilities from altering, refusing and

discontinuing services on account of prepetition invoices and (ii) establishing procedures for

determining requests for additional adequate assurance pursuant to section 366 of the Bankruptcy

Code. The Debtors requests the approval of the following procedures:

       Proposed Adequate Assurance

            •   Each Utility shall retain its existing deposit and the Debtors shall furnish an
                additional security deposit equal to an average month of usage, if required by the
                Utility.


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       Procedures for Requesting Additional Adequate Assurance

            •   If any Utility is unsatisfied with the Debtors’ proposed adequate assurance, it must
                (i) file a motion with the Bankruptcy Court requesting additional adequate
                assurance and clearly setting forth the basis for the request and (ii) set a motion for
                hearing no earlier than 30 days after the filing of the motion.
            •   Absent further order, pursuant to a motion seeking additional adequate assurance
                or otherwise, all Utility Providers are prohibited from interfering with, disturbing,
                or discontinuing services to the Debtors on account of this bankruptcy case and/or
                any unpaid invoices for prepetition services.


       7.       11 U.S.C. § 366 prohibits a utility company from altering or discontinuing services

with respect to a debtor during the first 20 days of its bankruptcy filing based upon (i) the debtor’s

commencement of a chapter 11 case or (ii) a pre-petition payment default. Upon the expiration of

the 20-day period, utility companies may alter, refuse, or discontinue services if the debtor does

not furnish adequate assurance of payment of postpetition utility service obligation.

       8.       The Debtors believe the proposed procedures above are fair and protect both the

Debtors and the Utility Providers as each Utility is provided adequate assurance in the form of the

retention of the existing security deposit and the additional security deposit, equivalent of one

month’s usage.

       9.       The Debtors propose to mail a copy of the attached order to all Utility Providers

within 10 days of its entry of the order granting this Motion. Should the Debtors discover any

additional Utility not already listed on the Utility Provider List, the Debtors shall promptly serve

a copy of the Motion and Order on those Utilities. For any Utility identified after the filing of this

Motion, the Debtors request that the prohibitions and procedures set forth herein be extended to

those Utilities without further order of the Court.

       WHEREFORE, the Debtors respectfully requests that this Court enter an order (i)

prohibiting Utilities from altering, refusing, or discontinuing services on account of prepetition


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invoices and (ii) establishing procedures for determining requests for additional adequate

assurance and, (iii) for such other relief as is equitable and just.

        Dated: October 13, 2022



                                                Respectfully submitted,



                                                 TRAN SINGH, LLP

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                                                Proposed counsel for Debtors and Debtors in
                                                Possession




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 13, 2022, the following parties below and attached creditor
matrix were served a true and correct copy of the foregoing Motion via First Class Mail, facsimile,
or electronic notice.

                                                /s/Susan Tran Adams
                                                Susan Tran Adams


                   VERIFICATION OF TRANSMITTAL TO U.S. TRUSTEE

        The undersigned, an attorney, under penalties of perjury, verifies that a copy of the Motion
was delivered to the United States Trustee on October 13, 2022, by electronic delivery by the clerk
of the Bankruptcy Court.


                                                /s/Susan Tran Adams
                                                Susan Tran Adams




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